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                          IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

 US DOMINION, INC., DOMINION                       )
 VOTING SYSTEMS, INC., and DOMINION                )
 VOTING SYSTEMS CORPORATION,                       )
                                                   )
          Plaintiffs,                              )
                                                   )
              v.                                   )      Case No. 1:21-cv-00040-CJN
                                                   )
 SIDNEY POWELL, SIDNEY POWELL,                     )
 P.C., and DEFENDING THE REPUBLIC,                 )
 INC.,                                             )
                                                   )
         Defendants.                               )
                                                   )

              [PROPOSED] ORDER GRANTING PLAINTIFFS’ MOTION FOR
               ADMISSION PRO HAC VICE OF ATTORNEY EMILY CRONIN

         Upon consideration of Plaintiffs’ Motion for Admission Pro Hac Vice of Attorney Emily

Cronin in the above-captioned matter and the Declaration of Emily Cronin in support thereof, and

it appearing that there is good cause to grant the motion, it is hereby

         ORDERED, that Plaintiffs’ Motion for Admission Pro Hac Vice of Attorney Emily Cronin

be, and the same hereby is, GRANTED; and it is

         FURTHER ORDERED, that Emily Cronin be allowed to appear pro hac vice in court

proceedings in the above-captioned matter.

         SO ORDERED this _____ day of __________ 2021.


Dated:




                                              UNITED STATES DISTRICT JUDGE
